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FOR THE DISTRICT GF MARYLAND SSIMET ER Man cari

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UNITED STATES OF AMERICA * CRIMINAL NO. E d Hf- / 90 Ly 34
*
Vv. * (Bank Fraud, 18 U.S.C. § 1344(2);
* Access Device Fraud, 18 U.S.C. §
IGOR COOPER ROSENSTEEL, * 1029(a)(2); Aggravated Identity
a/k/a “Cooper Ross,” * Theft, 18 U.S.C. § 1028A(a)(1) & (b);
“Cooper Rose,” * Possession of Fraudulently Made
* Government Seal, 18 U.S.C. §
* 506(a)(3); False Impersonation of an
* Officer or Employee of the United
* States, 18 U.S.C. § 912; Forfeiture, 18
* U.S.C. § 982(a)(2)(A) and (a)(2)(B), 18
* U.S.C, § 492, 28 U.S.C. § 2461(c))

Defendant.

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INDICTMENT

COUNTS ONE THROUGH FOUR
(Bank Fraud)

The Grand Jury for the District of Maryland charges that:
On or about the dates listed below, in the District of Maryland and elsewhere, the
defendant,

} | IGOR COOPER ROSENSTEEL,
a/k/a “Cooper Ross,” “Cooper Rose,”

knowingly and willfully executed and attempted to execute a scheme and artifice to obtain moneys
and funds owned by and under the custody and control of financial institutions with accounts
insured by the Federal Deposit Insurance Corporation and the National Credit Union Share
Insurance Fund, by means of materially false and fraudulent pretenses, representations and
promises, to wit: ROSENSTEEL executed checks drawn from financial institution accounts
belonging to other people, in the names of other people, without authority or consent, and deposited

the forged checks into his personal bank account, as follows:
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Bank Account Bank Account Approximate or
Count Date Drawn From Deposited Into Amount Victim
Check # 0063428248
1 any 7, Bank of America Wells Falge pank $3,500.00 RR.
Acct # 8316 .
Check # 1531
2 Pecennne 1, Franklin Synergy Wels fare “Bank $4,361.55 ve :
Bank Acct # 5358 , —
Check # 1006
3 a 3; Navy Federal Credit ves tee ne $1,000.00 Now w &
Union Acct # 5579 , —_
Check # 1964
4 January 18, | eT Bank Acct # | ‘ells Fargo Bank $800.00 T.G.
2019 8502 Acct. #0476

 

 

 

 

 

 

 

 

18 U.S.C. § 1344(2)
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COUNT FIVE
(Access Device Fraud)

The Grand Jury for the District of Maryland charges that:
Between on or about September 23, 2018 through January 23, 2019, in the District of
Maryland and elsewhere, the defendant,

IGOR COOPER ROSENSTEEL,
a/k/a “Cooper Ross,” “Cooper Rose,”

knowingly and with intent to defraud, in and affecting interstate and foreign commerce, did use
and attempt to use, one and more access devices as defined in 18 U.S.C. § 1029(e}(3), and by such
conduct, obtained things of value in an amount of $1,000.00 or more during a one year period of
time, to wit! ROSENSTEEL obtained and used stolen credit and debit cards, issued to other

people, to make unauthorized transactions and purchases, as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

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oe nary 4301 . —}| M&T Bane Card $1,506.37 SG.
January 15,2019 | Discover Credit Card # 51.00 1G.
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18 U.S.C. § 1029(a)(2)
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COUNT SIX - SIXTEEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland charges that:
From at least on or about January 17, 2018, up to and including January 23, 2019, in the

District of Maryland and elsewhere, the defendant,

_ IGOR COOPER ROSENSTEEL,
a/k/a “Cooper Ross,” “Cooper Rose,” _

knowingly transferred, possessed and used, without lawful authority, a means of identification of
another person, during and in relation to a felony violation enumerated in Title 18, United States
Code, Section 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2) and Access
Device Fraud, in violation of 18 U.S.C. § 1029(a)(2), as alleged in this Indictment, knowing that

the means of identification belonged to another person, as follows:

 

 

 

 

 

 

 

Count Date Means of Identification Used During / In Relation To
6 January 17, 2018 The name of R-R. Count One
7 December 21, 2018 The name of K.G. | Count Two
8 January 3, 2019 The name of N., LLC Count Three
9 January 18, 2019 The name of TG. Count Four
10 SS oaner 14,2018. A credit card and mamber belonging Count Five
1  seotember 28, 20 ‘ A credit card and pamber belonging Count Five

 

 

 

 

 

 
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December 11, 2018 —

A debit card and number belonging

 

 

 

 

 

January 23, 2019

 

 

to M.G. & H.G.

 

12 January 25, 2019 toK.G. & CFL Count Five
“2B sean 501 . — | A debit card and mamber belonging Count Five
14 January 15, 2019 A credit card and pumber belonging Count Five
15 J vaney 1 ri 30 D A credit card and Camber belonging Count Five
16 January 22, 2019 — A debit card and number belonging | Count Five

 

18 U.S.C. § 1028A(a)(1) & (b)

 
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COUNT SEVENTEEN
(Possession of Fraudulently Made Government Seal)

The Grand Jury for the District of Maryland charges that:
On or about August 3, 2018, in the District of Maryland and elsewhere, the defendant,

IGOR COOPER ROSENSTEEL,
a/k/a “Cooper Ross,” “Cooper Rose,”

with fraudulent intent, possessed a counterfeit and fraudulently made seal of a department and
agency of the United States and facsimile thereof, namely, a United States Secret Service badge

with a United States Secret Service Seal, purportedly issued by the United States Secret Service,

knowing that the United States Secret Service seal was counterfeit and fraudulently made, to wit:

ROSENSTEEL possessed the following replica United States Secret Service badge:

 

18 U.S.C. § 506(a)(3)
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COUNT EIGHTEEN
(False Impersonation of an
Officer or Employee of the United States)
« The Grand Jury for the District of Maryland charges that:
On or about August 3, 2018, in the District of Maryland and elsewhere, the defendant,

IGOR COOPER ROSENSTEEL,
a/k/a “Cooper Ross,” “Cooper Rose,”

did falsely assume and pretend to be an officer and employee of the United States acting under
the authority thereof, to wit; ROSENSTEEL pretended to be an agent and employee of the
United States Secret Service, and while so pretending, acted with the intent to cause a person to
follow some course of action and inaction by displaying a United States Secret Service badge
and falsely claiming he was employed by the United States Secret Service during and in relation
to traffic stop conducted by a Maryland Transportation Authority Police officer who was
investigating a traffic violation,

18 U.S.C. § 912 \
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FORFEITURE

1. The allegations of Counts One through Seventeen of this Indictment are
incorporated herein for the purpose of alleging forfeiture pursuant to 18 U.S.C. § 982(a)(2)(A)
and (a)(2)(B); 18 U.S.C. § 492; and 28 ULS.C. § 2461(c).

2. Upon conviction of one or more the offenses in violation of 18 U.S.C. § 1344(2),
18 U.S.C.'§ 1029(a)(2), and 18 U.S.C. 1028A(a)j(1) and (b), charged in Counts One through
Sixteen of this Indictment, the defendant,

IGOR COOPER ROSENSTEEL
a/k/a “Cooper Ross,” “Cooper Rose,”

shall forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(2)(A) and (a)(2)(B),
any property that constitutes or is derived from proceeds obtained, directly or indirectly, as a
result of the offenses, or is otherwise traceable to the offenses.

3, Upon conviction of the offense in violation of 18 U.S.C. § 506(a)(3) charged in
Count Seventeen of this Indictment, the defendant shall forfeit to the United States, pursuant to
18 U.S.C. § 492 and 28 U.S.C. § 2461(c), all counterfeits of any coins or obligations or other
securities of the United States or of any foreign government; any articles, devices, and other
things made, possessed, or used in violation of 18 U.S.C. § 506(a)(3); and any materia! or
apparatus used or fitted, or intended to be used, in the making of such counterfeits, articles,
devices or things, found in the possession of the defendant without proper authority. The
property to be forfeited includes, but is not limited to, the following: a replica United States
Secret Service Special Agent Badge.

. 4, If any of the property subject to forfeiture, as a result of any act or omission of the

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defendant:

a a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty

the United States of America shall be entitled to seek forfeiture of any other property of the
defendants up to the value of the property subject to forfeiture, pursuant to 21 U.S.C. § 853(p).

All pursuant to 18 U.S.C. § 982(a)(2)(A) and (a)(2)(B); 18 U.S.C. § 492; and 28 U.S.C.

 

§ 2461(c).
‘Rober Hur | eta.
Robert Hur
United States Attorney
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: “*FOREPERSON"Z . Date

 
